           Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-96V
                                   Filed: November 22, 2016
                                        UNPUBLISHED

****************************
TIMOTHY NEEL,                          *
                                       *
                    Petitioner,        *     Joint Stipulation on Damages;
v.                                     *     Influenza (“Flu”) Vaccine;
                                       *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                    *     Administration (“SIRVA”);
AND HUMAN SERVICES,                    *     Special Processing Unit (“SPU”)
                                       *
                    Respondent.        *
                                       *
****************************
Dustin Lujan, Richard Gage, P.C., Cheyenne, WY, for petitioner.
Lara Englund, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On January 19, 2016, Timothy Neel (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that the influenza vaccine he received on
October 22, 2014 resulted in a chronic left shoulder injury. Petition at ¶¶ 2, 6; see also
Stipulation, filed Nov. 22, 2016, at ¶¶ 1-2, 4. Petitioner further alleges that he received
the vaccination in the United States, suffered the residual effects of his injury for more
than six months, and neither he nor anyone else to his knowledge has participated in or
collected an award or settlement from any civil action for his injury alleged as vaccine
caused. Petition at ¶¶ 2, 7-8; see also Stipulation at ¶¶ 3-5. “Respondent denies that
the flu vaccine is the cause of petitioner’s alleged SIRVA or any other injury or his
current condition.” Stipulation at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 2 of 7



       Nevertheless, on November 22, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $67,500.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 3 of 7
Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 4 of 7
Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 5 of 7
Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 6 of 7
Case 1:16-vv-00096-UNJ Document 35 Filed 03/03/17 Page 7 of 7
